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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

Evan C. Borges (Bar No. 128706)
GREENBERG GROSS LLP
650 Town Center Drive, Suite 1700
Costa Mesa, CA 92626
Telephone: 949-383-2800
Facsimile: 949-383-2801
Email: EBorges@GGTrialLaw.com




     Individual appearing without attorney
     Attorney for: Defendants Erika Girardi, et al.

                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

In re:
GIRARDI KEESE                                                             CASE NO.:               2:20-bk-21022-BR

                                                                          ADVERSARY NO.: 2:21-ap-01155-BR

                                                                          CHAPTER:                7
                                                           Debtor(s).
ELISSA D. MILLER, Chapter 7 Trustee
                                                                                            JOINT STATUS REPORT
                                                                                               [LBR 7016-1(a)(2)]

                                                                          DATE:                 11/14/2023
                                                          Plaintiff(s).
                                                                          TIME:                 10:00 a.m.
                             vs.                                          COURTROOM:            1668
ERIKA N. GIRARDI, an individual; EJ GLOBAL, LLC, a                        ADDRESS:              Edward R. Roybal Federal Building
limited liability company; and PRETTY MESS, INC., a                                             255 E Temple Street
corporation                                                                                     Los Angeles, CA 90012

                                                      Defendant(s).


The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:
    1. Have all parties been served with the complaint/counterclaim/cross-claim, etc.                                        Yes              No
       (Claims Documents)?
    2. Have all parties filed and served answers to the Claims Documents?                                                    Yes          No
    3. Have all motions addressed to the Claims Documents been resolved?                                                     Yes          No
    4. Have counsel met and conferred in compliance with LBR 7026-1?                                                         Yes          No




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
       explain below (or on attached page):

         The case is at issue. Please see attached Exhibit 1 to Joint Status Report.




B. READINESS FOR TRIAL:

    1.      When will you be ready for trial in this case?
                                Plaintiff                                                       Defendant
         Please see Item A5 above                                                Please see Item A5 above



    2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
       delay.
                                Plaintiff                                       Defendant
         Please see Item A5 above                                Please see Item A5 above




    3. When do you expect to complete your discovery efforts?
                              Plaintiff                                      Defendant
       Please see Item A5 above                               Please see Item A5 above



    4. What additional discovery do you require to prepare for trial?
                               Plaintiff                                         Defendant
       Please see Item A5 above                                   Please see Item A5 above




C. TRIAL TIME:

    1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
       applicable)?
                               Plaintiff                                         Defendant
       Please see Item A5 above                                   Please see Item A5 above



    2. How many witnesses do you intend to call at trial (including opposing parties)?
                             Plaintiff                                           Defendant
       Please see Item A5 above                                    Please see Item A5 above




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    3. How many exhibits do you anticipate using at trial?
                             Plaintiff                                                           Defendant
       Please see Item A5 above                                                     Please see Item A5 above



D. PRETRIAL CONFERENCE:

    A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
    be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
    this case, please so note below, stating your reasons:

                               Plaintiff                                                                 Defendant
     Pretrial conference         is      is not requested                     Pretrial conference         is    is not requested
     Reasons:                                                                 Reasons:
     Please see Item A5 above                                                  Please see Item A5 above



                             Plaintiff                                                               Defendant
     Pretrial conference should be set after:                                 Pretrial conference should be set after:
     (date) Please see attached Exhibit 1 to Joint Status Report              (date) Please see attached Exhibit 1 to Joint Status Report


E. SETTLEMENT:

    1. What is the status of settlement efforts?
       The parties had previously engaged in settlement discussions over an extended period of time. No settlement
       was reached, but settlement negotiations have resumed and are ongoing.



    2. Has this dispute been formally mediated?                        Yes           No
       If so, when?



    3. Do you want this matter sent to mediation at this time?

                                 Plaintiff                                                               Defendant

                                 Yes           No                                                        Yes           No




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F. FINAL JUDGMENT/ORDER:

     Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
     proceeding must raise its objection below. Failure to select either box below may be deemed consent.

                             Plaintiff                                                                Defendant
          I do consent                                                             I do consent
          I do not consent                                                         I do not consent
      to the bankruptcy court’s entry of a final judgment                      to the bankruptcy court’s entry of a final judgment
      and/or order in this adversary proceeding.                               and/or order in this adversary proceeding.


G.   ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)
     Please see the attached Exhibit 1 to Joint Status Report.




Respectfully submitted,

Date: 10/31/2023                                                                Date: 10/31/2023

Jenkins Mulligan & Gabriel, LLP
__________________________________________                                       Greenberg Gross LLP
                                                                                ___________________________________________
Printed name of law firm                                                        Printed name of law firm


__________________________________________                                      ___________________________________________
Signature                                                                       Signature

 Larry W. Gabriel
__________________________________________                                       Evan C. Borges
                                                                                ___________________________________________
Printed name                                                                    Printed name

               Plaintiff, Trustee Elissa D. Miller
Attorney for: ________________________________                                                Defendants Erika Girardi, et al.
                                                                                Attorney for: _________________________________




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
650 Town Center Drive, Suite 1700, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled: JOINT STATUS REPORT [LBR 7016-1(a)(2)] will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/31/2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/31/2023 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 10/31/2023        Cheryl Winsten
 Date                      Printed Name                                                       Signature
         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  1                                    In re GIRARDI KEESE
                                      Case No. 2:20-bk-21022-BR
  2                 Elissa D. Miller. Chapter 7 Trustee v. Erika N. Girardi, et al.
                                      Case No. 2:21-ap-01155-BR
  3
      1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING:
  4
      The following is the list of parties who are currently on the list to receive email notice/service for
  5 this case.
  6
         Ori S Blumenfeld      oblumenfeld@laklawyers.com,
  7         nlessard@laklawyers.com;smcfadden@laklawyers.com
  8           Evan C Borges        eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
  9           Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
               lawyers.net,addy.flores@flpllp.com
 10
 11           Larry W Gabriel        lgabrielaw@outlook.com, tinadow17@gmail.com

 12           Daniel A Lev daniel.lev@gmlaw.com,
               cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
 13
              Craig G Margulies Craig@MarguliesFaithlaw.com,
 14            Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;
 15            Angela@MarguliesFaithlaw.com

 16           Elissa Miller (TR) CA71@ecfcbis.com,
               MillerTrustee@gmlaw.com;C124@ecfcbis.com;cheryl.caldwell@gmlaw.com;
 17            cheryl.caldwell@ecf.courtdrive.com
 18           Ronald N Richards ron@ronaldrichards.com,
 19            7206828420@filings.docketbird.com
 20           Frank X Ruggier        frank@ruggierlaw.com, enotice@pricelawgroup.com
 21           Amir Shakoorian         AShakoorian@GGTrialLaw.com
 22           United States Trustee (LA)          ustpregion16.la.ecf@usdoj.gov
 23           Timothy J Yoo        tjy@lnbyb.com
 24
 25 3.         SERVED BY PERSONAL SERVICE:
 26 U.S. Bankruptcy Court:
    U.S. Bankruptcy Court
 27 Hon. Barry Russell
    255 E. Temple Street, Courtroom 1668
 28 Los Angeles, CA 90012

                                                       -6-
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  1                                 EXHIBIT 1 TO JOINT STATUS REPORT

  2                      In re Girardi Keese (Bankruptcy Case No. 2:20-bk-21022-BR)

  3    Elissa D. Miller, Chapter 7 Trustee v. Erika N. Girardi, et al. (Adv. No. 2:21-ap-01155-BR)

  4                     Status on Pre-Trial Conference: November 14, 2023 at 10:00 a.m.

  5         --------------------------------------------------------------------------------------------------------

  6          Plaintiff Elissa D. Miller, chapter 7 trustee of debtor Girardi Keese (“GK”) (the “Trustee”

  7 or “Plaintiff”) and defendants Erika Girardi (“Ms. Girardi”), EJ Global, LLC (“EJ Global”), and
  8 Pretty Mess, Inc. (“PMI,” and together with Ms. Girardi and EJ Global, “Defendants”), by and
  9 through their attorneys of record in this adversary proceeding, hereby submit this Joint Status
 10 Report (“JSR”) for the Status on Pre-Trial Conference set by this Court for 10:00 a.m. on
 11 November 14, 2023.
 12          Plaintiff and Defendants are hereinafter at times collectively referred to as the “Parties.”

 13 I.       JOINT REQUEST OF PARTIES FOR ORDER WITHDRAWING THE
 14          REFERENCE OF THIS ADVERSARY PROCEEDING AT THIS
 15          TIME.
 16          The Court previously advised the Parties of the Court’s practice, when withdrawal of the

 17 reference is appropriate or required, to enter an Order so providing upon conclusion of the Pre-
 18 Trial Conference. Plaintiff’s operative pleading in this adversary proceeding is a First Amended
 19 Complaint, Etc. (Doc. 12; filed 8/26/21) (the “FAC”). Defendants’ operative pleading is an
 20 Answer to First Amended Complaint and Demand for Jury Trial (Doc. 20; filed 11/1/21) (the
 21 “Answer and Demand for Jury Trial”). In the Answer and Demand for Jury Trial, based on the
 22 causes of action in the FAC, including but not limited to fraudulent conveyance claims,
 23 Defendants requested a jury trial in the District Court, and did not consent to a jury trial before or
 24 entry of final judgment by the Bankruptcy Court. See Answer and Demand for Jury Trial at ¶ 1,
 25 and Demand for Jury Trial at page 18 of 20.
 26          Based on the FAC and the Answer and Demand for Jury Trial, the Parties agree that, as a

 27 matter of law, withdrawal of the reference of this adversary proceeding is required and appropriate
 28 at this time.
                                                 -1-
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  1          The Parties request that in the interests of judicial economy and efficiency, this Court enter

  2 an Order now advising the District Court that withdrawal of the reference of this adversary
  3 proceeding is required and appropriate at this time. Among other things, this adversary
  4 proceeding will move forward more efficiently if the reference is withdrawn at this time, given
  5 that the District Court has different Local Rule requirements relating to a final pre-trial conference
  6 and the conduct of a jury trial before the District Court, including without limitation with respect
  7 to the Parties’ submission of agreed and disputed jury instructions and special verdict forms for
  8 decision by the District Court. The Parties are prepared to comply with the District Court’s Local
  9 Rule requirements applicable to a future pre-trial conference set by the District Court, and request
 10 that, upon withdrawal of the reference, the District Court set a status conference to address the
 11 timing of the final pre-trial conference under the District Court Local Rules and the jury trial.
 12          In sum, withdrawal of the reference by the District Court of this adversary proceeding at

 13 this time will promote efficiency, judicial economy, and allow for a jury trial and final
 14 adjudication to occur more quickly consistent with the Local Rules and requirements of the
 15 District Court for jury trials.
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                              EXHIBIT 1 TO JOINT STATUS REPORT
